

513 W. 150 Gardens LLC v Simmons (2024 NY Slip Op 51706(U))



[*1]


513 W. 150 Gardens LLC v Simmons


2024 NY Slip Op 51706(U)


Decided on December 17, 2024


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on December 17, 2024
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Tisch, J.P., James, Perez, JJ.



570467/24

513 West 150 Gardens LLC, Petitioner-Landlord-Appellant, 
againstSonia Simmons, Respondent-Tenant-Respondent&nbsp;and "John Doe" and/or "Jane Doe," Respondents-Undertenants.




Landlord appeals from an order of the Civil Court of the City of New York, New York County (Alberto M. Gonzalez, J.), entered June 3, 2024, which granted tenant's motion for summary judgment dismissing the petition in a nonpayment summary proceeding.




Per Curiam.
Order (Alberto M. Gonzalez, J.), entered June 3, 2024, affirmed, with $10 costs.
Civil Court properly granted tenant's motion for summary judgment dismissing the petition in this nonpayment summary proceeding. The evidentiary submissions conclusively demonstrate that the subject apartment was the result of an illegal alteration made in 1997 by a prior owner in combining two apartments through an internal spiral staircase, resulting in a violation being issued by the Department of Buildings stating, that "occupancy [was] contrary to that allowed by the certificate of occupancy" (c/o) and that the "remedy: [was to] discontinue illegal occupancy [and to] amend c/o." Since there is no evidence that the c/o was amended to reflect the alterations, landlord was precluded from recovering rent or use and occupancy from tenant (see Multiple Dwelling Law §§ 301[1] and 302[1][a], [b]; Chazon, LLC v Maugenest, 19 NY3d 410, 415 [2012]; Matter of GVS Props. LLC v Vargas, 172 AD3d 466 [2019]; Matter of 49 Bleecker, Inc. v Gatien, 157 AD3d 619 [2018]; East Harlem MEC Parcel C, L.P. v Smalls, 82 Misc 3d 127[A], 2024 NY Slip Op 50317[U] [App Term, 1st Dept 2024]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concurDecision Date: December 17, 2024









